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                 EXHIBIT F
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                                                   Return of Service

                                          UNITED STATES DISTRICT COURT
                                                District of Columbia

Abigail Carmichael Jordan                                                             Case Number: 1:24-cv-01844-TNM
  Plaintiff

vs.

Marco Rubio, in His Official Capacity as U.S.
Secretary of State, et al,
  Defendant


On behalf of:
Gibson, Dunn & Crutcher LLP
1700 M Street, N.W.
Washington, D.C. 20036-4504


Received by Cavalier to be served on Darryl Hellams, Deputy Director of Virginia's Office of Vital Records at 2001
Maywill St, Suite 101, Richmond, VA 23230.

I, James Anderson, being duly sworn, depose and say that on February 5, 2025 at or about 11 :06 AM I served
Summons & Amended Complaint; Standing Order for Cases Before Judge Trevor N. McFadden; Civil Docket Sheet
personally to Howard Pitt as authorized agent of Darryl Hellams, Deputy Director of Virginia's Office of Vital Records.
Service occurred at Virginia Department of Health, Office of Vital Records, 2001 Maywill St Suite 101 Richmond, VA
23230.

I am a natural person over the age of eighteen and am not a party or otherwise interested in the subject matter in
controversy. I am a private process server authorized to serve this process in accordance with relevant law. Under
penalty of perjury, I declare that the foregoing is true and correct.




                                                                          ames Anderson                           Date
                                                                         Cavalier CPS
                                                                         823-C S. King Street
                                                                         Leesburg, VA 20175
                                                                         (703) 431-7085

                                                                         Our Job Number: 2025-136433
